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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

KIMBERLY BADY AND JASON D.                     §
ARCHER--TRUSTEE                                §
                                               §
               Plaintiffs,                     §
                                               §
                                                   CIVIL ACTION NO. 4:17-cv-01019
v.                                             §
                                               §
JPMORGAN CHASE BANK, N.A.                      §
                                               §
               Defendant.


       DEFENDANT JPMORGAN CHASE BANK, N.A.’S MOTION TO DISMISS
         PLAINTIFFS’ AMENDED COMPLAINT AND BRIEF IN SUPPORT


       Defendant JPMorgan Chase Bank, N.A. (JPMC) files its Motion to Dismiss Plaintiffs’

Amended Complaint and Brief in Support, and would respectfully show as follows:

                                      I.
                      NATURE AND STAGE OF THE PROCEEDING

       On February 27, 2017, Plaintiffs Kimberly Bady and Jason D. Archer, Trustee (Plaintiffs)

filed Plaintiffs’ Original Petition, Application for Injunctive Relief and Request for Disclosures

(the Complaint) in state court solely for the purposes of delaying the March 7, 2017 foreclosure

sale of the real property located at 25634 Saddlebrook Village Dr., Tomball, TX 77375 (the

Property). In April, JPMC timely removed the suit to this Court and filed a motion to dismiss.

Doc. 1, 5.

       At a status conference on May 19, the Court heard argument on the motion to dismiss.

The Court ordered JPMC to produce communications between JPMC and Bady from October

2016 to the present regarding a loan modification. The Court further warned that in the absence



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of a written document agreeing to postpone the foreclosure sale, the Court would likely grant

JPMC’s motion to dismiss based on the application of the statute of frauds. At the time, the

parties were also considering a settlement. As a result, the Court set a status conference for July

and required that the discovery be produced prior to that conference. After the settlement

discussions reached an impasse, JPMC produced the discovery materials required by the Court

on June 14, 2017 and requested that Plaintiffs voluntarily dismiss in light of information

contained in the discovery indicating that JPMC had voluntarily agreed to postpone the March

foreclosure and notified Plaintiffs’ representative of that decision in February, prior to the filing

of the suit. Plaintiffs refused to voluntarily dismiss and instead filed Plaintiffs’ First Amended

Complaint (Doc. 14) on July 14.

       Plaintiff Kimberly Bady is the borrower under the subject loan and the former owner of

the Property. Doc. 14, ¶5, 16. Bady previously obtained two modifications of the subject loan.

Doc. 14, ¶ 8-9. In October 2016, Bady was in contact with JPMC about applying for a short sale

of the property. Doc. 14-8. In November 2016, JPMC followed up regarding additional

information that was needed to complete Bady’s application so that JPMC could consider the

short sale request. Doc. 14-9.     In December 2016, JPMC, through its foreclosure counsel,

accelerated the balance owed on the loan and gave notice of its intent to foreclose on March 7,

2017. Doc. 14-10, 14-11. In January 2017, Bady was continuing to submit materials to support

her request for a short sale. Doc. 14-12. Again on February 13, 2017, JPMC issued a letter

following up regarding additional materials that were needed to complete the application for a

short sale. Doc. 14-13. On February 28, 2017, after Plaintiffs filed this suit, JPMC sent a letter

to Bady indicating that she was eligible for a short sale program and advising her of the next

steps. Doc. 14-15. The letter advised that “if we’ve started a legal foreclosure proceeding on the



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property, we need to receive your purchase contract with your listing agreement. All borrowers

must sign the listing agreement and we need to receive all documents by March 14, 2017.” Id. at

pg. 4 of 15. Plaintiffs allege this letter caused confusion because it also offered a loan

modification. Doc. 14, ¶17. However, the letter, which is attached to the Amended Complaint,

made no offer regarding a loan modification. Doc. 14-15. Plaintiff contends that throughout the

short sale process she was orally told that no action would be taken to foreclose on her home

while the short sale option was being explored. Doc. 14, ¶ 15. Plaintiff also alleges that she

requested a reinstatement quote more than five days prior to foreclosure, but that such quote was

not received. Doc. 14, ¶ 18. The foreclosure sale scheduled for March 7, 2017 did not proceed.

       In January 2017, while her short sale request was under consideration, Bady conveyed

the property to Saddlebrook Village Trust, Jason D. Archer as Trustee. Doc. 14-14.

       Plaintiffs assert claims for breach of contract, fraud, promissory estoppel and violations

of the dual tracking provisions of Regulation X. Doc 14, ¶21-27. Plaintiffs’ claims are based

primarily upon their contention that a JPMC representative represented to Bady that no action

would be taken to foreclose while the short sale was under consideration. Plaintiffs assert no

viable cause of action or cognizable claim by which they may be entitled to relief. Plaintiffs’

claims are all barred by the statute of frauds, among other things. Consequently, Plaintiffs’

Complaint should be dismissed in its entirety under Federal Rules of Civil Procedure 8 and

12(b)(6).

                                            II.
                            ISSUES TO BE DECIDED BY THE COURT

       1.      Are Plaintiffs’ claims for breach of contract, fraud and promissory estoppel barred

by the statute of frauds?




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       2.      Beyond the statute of frauds issue, do Plaintiffs fail to state a breach of contract

action where they do not allege (1) Bady’s performance, (2) the existence of an enforceable

contract, (3) breach by JPMC, and (4) resulting damages as no foreclosure occurred?

       3.      Beyond the statute of frauds issue, do Plaintiffs fail to state a fraud cause of action

where (1) the allegations regarding fraud do not meet the heightened pleading requirement of

Rule 9(b), (2) Plaintiffs fail to allege that JPMC intended not to perform at the time the alleged

representation was made, (3) Plaintiffs fail to allege any facts to support that Plaintiffs relied on

the alleged representation, and (4) Plaintiffs do not and cannot allege any damages as a result as

foreclosure has not occurred?

       4.      Beyond the statute of frauds issue, do Plaintiffs fail to state a promissory estoppel

claim where they do not allege any facts to demonstrate Plaintiffs’ reliance on the alleged oral

promise?

       5.      Do Plaintiffs state a valid dual tracking claim where there are no allegations to

satisfy the triggering of the dual tracking regulation and Plaintiffs do not allege any damages as a

result of alleged dual tracking?

       6.      Does Plaintiffs’ claim for injunctive relief fail where it is not support by any

viable cause of action?

                                        III.
                              ARGUMENT AND AUTHORITIES

A.     Standard for dismissal under Rule 12(b)(6).

       To survive a motion to dismiss based on Rule 12(b)(6), a plaintiff must plead sufficient

facts to state “a legally cognizable claim that is plausible.” Lone Star Fund V (U.S.), L.P. v.

Barclay’s Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010). The pleading standard set forth by the

United States Supreme Court does not “require ‘detailed factual allegations,’ but it demands


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more than an unadorned, the-defendant-unlawfully-harmed-me accusation. A pleading that offers

‘labels and conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555 (2007)) (internal citations omitted). While a court must accept all of the

plaintiff’s allegations as true, it is not bound to accept as true “a legal conclusion couched as a

factual allegation.” Twombly, 550 U.S. at 555.

       Thus, “[t]o survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Id. at 570. “A

claim has facial plausibility when the court can draw a reasonable inference from the pleadings

that the defendant is liable for the misconduct alleged.” Id. at 556. The factual allegations must

be sufficient to raise the right to relief above a speculative level. Lexington Ins. Co. v. S.H.R.M.

Catering Servs., Inc., 567 F.3d 182, 184 (5th Cir. 2009). “Where the facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has stopped short of

showing that the pleader is plausibly entitled to relief.” Twombly, 550 U.S. at 557.

       In determining the validity of a Rule 12 (b)(6) motion, the pleadings are determinative.

See Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999). Pleadings in the Rule 12(b)(6)

context include attachments to the complaint. See In re Katrina Canal Breaches Litigation, 495

F.3d 191, 205 (5th Cir. 2007). Documents “‘attache[d] to a motion to dismiss are considered to

be part of the pleadings, if they are referred to in the plaintiff’s complaint and are central to her

claim.’” Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498-99 (5th Cir. 2000) (quoting

Venture Assocs. Corp. v. Zenith Data Sys. Corp., 987 F.2d 429, 431 (7th Cir. 1993)).




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B.     Plaintiffs’ claims are barred by the statute of frauds.

       Plaintiffs’ claims for breach of contract, fraud and promissory estoppel are premised on

an alleged oral promise to delay foreclosure so long as short sale consideration was ongoing.

The loan at issue had an original principal balance of $133,394. Doc. 14, ¶ 5.

       In Texas, a loan agreement for more than $50,000 is not enforceable unless it is in writing

and signed by the party to be bound. TEX. BUS. & COM. CODE § 26.02(b). Similarly, any

agreement modifying such a loan is subject to the same statute of frauds. Martins v. BAC Home

Loans Servicing, L.P., 722 F.3d 249, 256 (5th Cir. 2013). “An agreement regarding the transfer

of the property or modification of a loan must therefore be in writing to be valid.” Id. Likewise,

“[a]n agreement to delay foreclosure is subject to the Texas statute of frauds, and, accordingly,

must be in writing to be enforceable.” Milton v. U.S. Bank Nat. Ass'n, 508 Fed. Appx. 326, 328–

29 (5th Cir. 2013); see also Williams v. Wells Fargo Bank, N.A., 560 Fed. Appx. 233, 241 (5th

Cir. 2014) (finding that the statute of frauds precluded claims based on an oral promise not to

foreclosure while a loan modification was under consideration); Hua v. Wells Fargo Bank, N.A.,

No. H-14-2427, 2014 WL 5877909 (S.D. Tex. Nov. 11, 2014) (dismissing breach of contract,

fraud and promissory estoppel claims asserted by Plaintiffs’ counsel). These cases demonstrate

that the alleged promise to delay foreclosure is not treated as a separate contract or agreement

and instead is treated as a modification of the loan agreement.

       The application of the statute of frauds is not limited to breach of contract claims and

instead will also bar fraud and promissory estoppel claims under the allegations asserted by

Plaintiffs. “Where a contract claim (as here) is barred by the statute of frauds, an alternative

claim of promissory estoppel requires the plaintiff to show not only that the defendant made a

promise upon which he relied, but also that the defendant promised to sign a written document



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complying with the statute of frauds.” Guajardo v. JP Morgan Chase Bank, N.A., 605 Fed.

Appx. 240, 248-49 (5th Cir. 2015). Thus, in order for a claim for promissory estoppel to avoid

the impact of the statute of frauds, “there must have been a promise to sign a written contract

which had been prepared and which would satisfy the requirements of the statute of frauds.”

Martins, 722 F.3d at 256–57 (5th Cir. 2013). This requires a separate promise from the original

promise to postpone the foreclosure. Id. In addition, tort claims like fraud cannot be used to

circumvent the statute of frauds. “When tort claims have their nucleus in an alleged oral contract

which is unenforceable under the statute of frauds, the statute of frauds bars the tort claims as

well.” Foster v. Bank One Texas NA, 54 Fed. Appx. 592, *3 (5th Cir. 2002) (quoting Maginn v.

Norwest Mortg. Inc., 919 S.W.2d 164, 169 (Tex. App.—Austin 1996, no writ); see also Hua,

2014 WL 5877909 at *2 (dismissing fraud claim based on unenforceable promise to delay

foreclosure).

       Here, Plaintiffs’ claims for breach of contract, fraud and promissory estoppel are all

premised on an alleged oral promise to delay foreclosure while a short sale was being

considered. Plaintiffs do not allege that JPMC signed a written agreement to postpone

foreclosure. In addition, Plaintiffs do not alleged that JPMC promised to sign a prepared

document agreeing to delay foreclosure that comports with the statute of frauds. As a result, all

of Plaintiffs’ claims premised on an alleged oral promise to delay foreclosure, including their

claims for breach of contract, fraud and promissory estoppel, are barred by the statute of frauds.

C.     Even if the statute of frauds did not apply, Plaintiffs’ breach of contract claim fails
       as a matter of law.

       Under Texas law, a plaintiff alleging a breach of contract must show (1) the existence of

a valid contract; (2) performance or tendered performance by the plaintiff; (3) breach of the

contract by the defendant; and (4) damages to the plaintiff resulting from that breach.” Villarreal


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v. Wells Fargo Bank, N.A., 814 F.3d 763, 767 (5th Cir. Feb. 26, 2016). “A plaintiff must allege

her own performance, because ‘a party to a contract who is [herself] in default cannot maintain a

suit for its breach.’” Id.

        Here, there is no allegation that Bady herself was not in breach of the loan agreements.

Instead, the allegations are that she sustained financial difficulties and could no longer afford the

loan. Under similar circumstances, the Fifth Circuit has affirmed dismissal of breach of contract

claims. Villarreal, 814 F.3d at 767 (affirming dismissal of breach of contract claim where

borrower under loan was herself in default of the loan because she failed to make all payments as

they became due). In addition, under the terms of the Deed of Trust, Bady is in default upon her

sale of the property to a third party. Doc 14-2, ¶ 9. Bady admits selling the property to a third

party in January. Doc. 14-14. That breach separate and apart from the payment default would

also undermine any possibility of modifying the loan or entering into a short sale, as Bady no

longer owns the property.

        In addition, there is no allegation that there was a valid, existing contract to postpone

foreclosure.     The alleged promise to delay foreclosure was not supported by separate

consideration.

        As pleaded, there also is no allegation of breach by JPMC or damages sustained by

Plaintiffs. The alleged promise was that JPMC would not foreclose. Because JPMC has not

foreclosed, there is no breach of that alleged promise. Moreover, because no foreclosure has

occurred, Plaintiffs have not sustained damages as a result of the alleged breach.

        To the extent Bady premises a breach of contract claim on the alleged failure to provide a

reinstatement quote when it was requested, Bady cannot prevail because she was herself in

breach of the Note and Deed of Trust. In addition, Bady has not alleged how the failure to



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receive a reinstatement quote caused her damage. The foreclosure sale did not occur so any delay

in receiving a reinstatement quote, especially after she had conveyed her interest in the property,

cannot have caused her damage.

       For all of these reasons, and because of the application of the statute of frauds as

discussed above, Plaintiffs’ breach of contract claim should be dismissed with prejudice.

D.     Even if the statute of frauds did not apply, Plaintiffs fail to state a viable fraud
       claim.

       The elements of common-law fraud are (1) the defendant made a material representation

to the plaintiff; (2) the representation was false; (3) the defendant knew the representation was

false or made the misrepresentation recklessly, without knowledge of the truth; (4) the defendant

intended for the plaintiff to act on the misrepresentation; (5) the plaintiff acted on the

misrepresentation; and (6) the plaintiff incurred damages. In re First Merit Bank, N.A., 52

S.W.3d 749, 758 (Tex. 2001). If the representation pertains to future performance, the plaintiff

must also establish that the promise was made with no intention of performing at the time it was

made. Formosa Plastics Corp. USA v. Presidio Engineers & Contractors, Inc., 960 S.W.2d 41,

48 (Tex. 1998).

       The representation here was a representation about future performance—that JPMC

allegedly would take no action to foreclose while Bady was actively pursuing a short sale. Doc.

14, ¶23. However, there is no allegation that this alleged promise was made by a JPMC

representative with no intention of performing at the time the promise was made. Doc. 14, ¶15,

23. There are not even boilerplate allegations in this regard, let alone specific factual allegations

to support a boilerplate allegation.

       A common law fraud claim must satisfy a heightened pleading standard, which Plaintiffs’

Amended Complaint utterly fails to meet. See FED. R. CIV. P. 9 (b); Benchmark Elecs., Inc. v.


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J.W. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003); Williams v. WMX Techs., Inc., 112 F.3d

175, 177 (5th Cir. 1997). To sufficiently plead a fraud claim, Plaintiffs must specify the time,

place, and content of the misrepresentation, as well as the identity of the speaker and what

benefit the speaker gained from the misrepresentation. Williams, 112 F.3d at 177-78.

       Here, Plaintiffs do not identify a single misrepresentation they allege JPMC made with

the specificity demanded by Rule 9(b). Instead, Plaintiffs allege that “Sheri Schwartz at Chase

Bank . . . repeatedly assured her that Chase Bank would take no action to foreclose on her home

while they were actively pursuing the short sale option.” Doc. 14, ¶15. While Plaintiffs now

identify the speaker, they fail to explain when this representation was made and what benefit

JPMC gained by telling Plaintiffs that the foreclosure would be postponed. In addition, there are

no allegations that the representation was false when made or that JPMC intended not to perform

when the alleged representation was made.

       Likewise, Plaintiffs’ Amended Complaint is devoid of any fact that would show Plaintiffs

relied on any false representation. Doc. 14, ¶23. The bare assertion that “Bady relied on these

representations” is insufficient. Iqbal, 556 U.S. at 678. Plaintiffs do not allege that Bady could

have brought the loan current to prevent the foreclosure. Even if this vague statement occurred,

Plaintiffs cannot allege or show reliance. Moreover, because the foreclosure sale did not occur,

Plaintiffs cannot allege that they sustained damage as a result of the alleged fraud.

       Plaintiffs fail to allege facts sufficient to satisfy the basic elements of a fraud claim, let

alone the pleading requirements of Rule 9(b). Plaintiffs’ fraud claim should be dismissed.

E.     Even if the statute of frauds did not apply, Plaintiffs fail to state a viable promissory
       estoppel claim.

       A cause of action for promissory estoppel requires: (1) a promise by the defendant;

(2) foreseeable and actual reliance on the promise by the plaintiff to her detriment; and (3) that


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enforcement of the promise be necessary to avoid an injustice. Guajardo v. JP Morgan Chase

Bank, N.A., 605 Fed. Appx. 240, 248 (5th Cir. 2015). “To support a finding of promissory

estoppel, the asserted promise must be sufficiently specific and definite that it would be

reasonable and justified for the promisee to rely upon it as a commitment to future action.” Id.

       Likewise, Plaintiffs’ Amended Complaint is devoid of any fact that would show they

relied on any alleged promise to her detriment. The bare assertion that “Bady reasonably and

substantially relied on the promise to her detriment” is insufficient. Iqbal, 556 U.S. at 678.

Plaintiffs do not allege that Bady could have brought the loan current to prevent the foreclosure.

Even if this vague statement occurred, Plaintiffs cannot allege or show reliance. Plaintiffs were

aware since December that the foreclosure was scheduled for March 7. Apparently at the time

suit was filed on February 27, 2017, Plaintiffs believed the foreclosure was still moving forward.

That negates any reliance that could possibly have been placed on the earlier alleged statement

that foreclosure would not move forward. Accordingly, Plaintiffs have not stated a claim for

promissory estoppel.

F.     Plaintiffs fail to state a claim for dual tracking.

       Plaintiff asserts a claim based on JPMC’s alleged “dual tracking” of her loss mitigation

application and foreclosure. Doc. 14, ¶26-27. However, there are no allegations to support a

claim that the actual statutory provisions regarding dual tracking have been violated.

Specifically, a loan servicer is prohibited from making the first notice or filing required by

applicable law for any judicial or non-judicial foreclosure process if the borrower submits a

“complete loss mitigation application” during the 120–day pre-foreclosure review period or

before the servicer has made the first notice or filing. 12 C.F.R. § 1024.41(f). Subsection (g)

further provides that if a borrower submits a “complete loss mitigation application” after the

servicer has made the first notice or filing “but more than 37 days before a foreclosure sale, a

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servicer shall not move for foreclosure judgment or order of sale, or conduct a foreclosure sale,

unless: (1) The servicer has sent the borrower a notice pursuant to paragraph (c)(1)(ii) of this

section that the borrower is not eligible for any loss mitigation option and the appeal process in

paragraph (h) of this section is not applicable, the borrower has not requested an appeal within

the applicable time period for requesting an appeal, or the borrower's appeal has been denied....”

Id. § 1024.41(g). The ensuing subsection qualifies that “[a] servicer is only required to comply

with the requirements of this section for a single completed loss mitigation application for a

borrower’s mortgage loan account.” Id. § 1024.41(i).

       Plaintiff Bady has failed to allege that she submitted a “complete loss mitigation

application.” Indeed, from the correspondence attached to Plaintiffs’ Amended Complaint, it is

clear that when Chase issued the foreclosure notice in December 2016, a complete short sale

application had not yet been submitted to Chase. In the absence of a completed loss mitigation

application in December 2016, Chase did not violate the dual tracking provision by noticing the

sale for March 7, 2017. Accordingly, Plaintiffs cannot state a claim against Chase for dual

tracking.

       In addition, to the extent there are allegations that a completed short sale application was

submitted more than 37 days prior to the March 7 foreclosure date, and it appears a complete

application was not submitted prior to February 1, 2017 as materials were still being sought in

mid-February (Doc. 14-13), Chase’s obligation under Reg. X was not to conduct the foreclosure

sale. No foreclosure sale went forward on March 7, 2017. Accordingly, Chase did not violate

Reg. X., even assuming there are allegations that a completed loss mitigation application was

submitted prior to February 1, 2017. As a result, Plaintiffs have failed to state a claim for dual

tracking.



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       In addition, in order to state a claim for dual tracking, which can be a violation of

RESPA, a plaintiff must plausibly alleged that he or she has sustained actual damages as a result

of the alleged dual tracking violation. Obazee v. Bank of N.Y. Mellon, No. 3:15–CV–1082–D,

2015 WL 4602971, at *4 (N.D. Tex. July 31, 2015). Here, Plaintiffs has not alleged how the

alleged dual tracking violation caused them actual damages. It is difficult to see how damages

could have been caused where the borrower no longer owned the property and the foreclosure

sale did not occur. As a result, Plaintiffs have failed to state a claim premised on the alleged dual

tracking.

                                             IV.
                                         CONCLUSION

       Defendant prays that the Court dismiss all causes of action asserted against it because

Plaintiffs do not state a single cause of action upon which relief may be granted.


                                              Respectfully submitted,


                                                /s/ Marcie L. Schout
                                              WM. LANCE LEWIS, Attorney-in-Charge
                                              Texas Bar No. 12314560
                                              S.D. Bar No. 28635
                                              MARCIE L. SCHOUT, of counsel
                                              Texas Bar No. 24027960
                                              S.D. Bar No. 34593
                                              QUILLING, SELANDER, LOWNDS,
                                                 WINSLETT & MOSER, P.C., of counsel
                                              2001 Bryan Street, Suite 1800
                                              Dallas, Texas 75201
                                              (214) 871-2100 (Telephone)
                                              (214) 871-2111 (Facsimile)
                                              llewis@qslwm.com
                                              mschout@qslwm.com

                                              ATTORNEYS FOR DEFENDANT
                                              JPMORGAN CHASE BANK, N.A.



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                               CERTIFICATE OF SERVICE

       This is to certify that on July 18, 2017 a true and correct copy of the foregoing pleading
has been furnished to Plaintiffs’ counsel via ECF in accordance with the Federal Rules of Civil
Procedure.

       Robert C. Vilt
       Vilt and Associates, P.C.
       5177 Richmond Avenue, Suite 1142
       Houston, Texas 77056
                                                     /s/ Marcie L. Schout
                                                    Marcie L. Schout




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